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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                v.                             :
                                               :       Case No.: 21-CR-508 (BAH)
LUKE WESSLY BENDER and                         :
LANDON BRYCE MITCHELL,                         :
                                               :
                Defendants.                    :

                                   JOINT STATUS REPORT

       Pursuant to the Court’s order dated May 13, 2022, the United States and defendants Luke

Wessly Bender and Landon Bryce Mitchell provide the following joint status report:

       a.       Status of Plea Offers

       All outstanding plea offers have expired.

       b.       Speedy Trial Act

       The parties stipulate and agree that the Court should find that the time between June 24,

2022 and the trial of this matter shall be excluded under the Speedy Trial Act, in the interests of

justice. The Court should find that period of time excludable under 18 U.S.C. § 3161(h)(1) &

(7)(A). The ends of justice served by the granting of such continuance outweigh the best interests

of the public and the defendants in a speedy trial, for reasons including that defendants and their

counsel have sufficient time to review the discovery in this case and fully prepare for trial.

       c.       Motions Schedule

       The parties agree that the Court should set a schedule for pre-trial motions as follows:

       Pretrial motions due: September 2, 2022
       Responses due: October 3, 2022
       Replies due: October 28, 2022

       d.       Outstanding Discovery Issues

       There are no discovery issues that currently require resolution by the Court.
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        e.       Trial

        The parties believe that this case will require a jury trial that may take up to five days.

The parties propose trial to commence on December 19, 2022; January 9, 2023; or January 23,

2023.

        f.       Issues Requiring Special Attention

        There are no issues that currently require the Court’s attention.

Respectfully submitted,

MATTHEW M. GRAVES                                     LUKE WESSLY BENDER
United States Attorney                                Defendant
DC Bar No. 481052

/s/ Jordan A. Konig                                    /s/ Christopher Macchiaroli
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                                                       LANDON BRYCE MITCHELL
                                                       Defendant

                                                       /s/ Elizabeth Mullin
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